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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )               8:12CR33
                        Plaintiff,                    )
                                                      )
       vs.                                            )                ORDER
                                                      )
ALEJANDRO OLVERA-MARTINEZ,                            )
                                                      )
                        Defendant.                    )


       This matter is before the court on the motion for an extension of time by defendant
Alejandro Olvera-Martinez (Olvera-Martinez) (Filing No. 31). Olvera-Martinez seeks until April 30,
2012, in which to file pretrial motions in accordance with the progression order. Olvera-Martinez's
counsel represents that Olvera-Martinez will file an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act.      Olvera-Martinez's counsel represents that government's counsel has no
objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Olvera-Martinez's motion for an extension of time (Filing No. 31) is granted.
Olvera-Martinez is given until on or before April 30, 2012, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between April 2, 2012, and April 30, 2012,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 2nd day of April, 2012.
                                                      BY THE COURT:


                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
